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Exhibit K
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December 14, 2019

VIA EMAIL

Josh Belinfante, Esq.

Robbins Ross Alloy Belinfante & Littlefield, LLC
500 14th Street

Atlanta, Georgia 30318
jbelinfante@robbinsfirm.com

Re: Fair Fight Action v. Raffensperger, Civil Action No. 1:18-CV-05391-SCJ
United States District Court, Northern District of Georgia

Dear Josh:

As | referenced during our call yesterday, on Wednesday, December 11, Plaintiffs
learned for the first time that Defendants are imminently planning to purge registered
voters from the voter rolls based on voter inactivity notwithstanding the pendency of the
above-referenced matter. Specifically, Secretary of State General Counsel Ryan Germany
testified:

Mr. Germany: That notice [the “secondary notice”] has been sent out. When it's sent
out, it starts a 40-day clock for getting it returned. And I believe the
40-day clock is going to expire sometime next week.

Q. And when will these people who did not respond to the notice -- when
will they be moved from inactive to canceled?

Mr. Germany: | believe it's December 16th, but it's a date around there.

* *

Q. I want to know whether it's December, January, or next June.

Mr. Germany: I think it happens next week.

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(Germany 12/11/2019 Dep., at 38:8-20).

As you are aware, Plaintiffs’ lawsuit challenges whether the State’s “use it or lose it”
process complies with applicable law. Accordingly, Plaintiffs request that, as Defendants
have done in the past,’ Defendants delay any cancellations or modifications to the status of
registered voters based on inactivity until after the Court’s resolution of Plaintiffs’ claims.

Please let us know by noon on Monday, December 16, whether Defendants will
agree to stay the purging process during the pendency of Plaintiffs’ challenge. If
Defendants do not agree, Plaintiffs may be forced to seek appropriate relief from the Court.

Very truly yours,
Ht Hale | (Qu YLcce ee
Allegra J. Lawrence-Hardy

6c Brian E. Lake, Esq. (via email)
Carey A. Miller, Esq. (via email)
Vincent R. Russo, Jr., Esq. (via email)
Andrew Swindle, Esq.(via email)
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Norman Anderson, Esq. (via email)
Andrew D. Herman, Esq. (via email)
Nina Gupta, Esq. (via email)
Kali Bracey, Esq. (via email)

' There is precedent for not conducting a purge due to pending litigation. See Germany
12/11/2019 Dep., at 57:15-21.
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Jeremy H. Ershow, Esq. (via email)
Von DuBose, Esq. (via email)
